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                            UNITED STATES DISTRICT COURT
                              FOR THEDISTRICT OF MAINE


 BAYLEY’S CAMPGROUND, INC, d/b/a
 BAYLEY’S CAMPING RESORT, et al.,,
        Plaintiffs
                                                     CIVIL ACTION NO.: 2:20-cv-00176-LEW
                v.
 JANET MILLS, in her official capacity as the
 Governor of the State of Maine,
        Defendant.


                     DECLARATION OF DEREK P. LANGHAUSER

I, Derek P. Langhauser, hereby declare as follows:

1.     I am Derek P. Langhauser, an attorney authorized to practice law in Maine since 1987. I

       am currently Chief Legal Counsel to Governor Janet T. Mills. I am a principal advisor to

       the Governor on the State’s emergency response and her use of emergency powers in

       dealing with COVID-19. My professional experience includes serving as Chief Legal

       Counsel to Governor John R. McKernan, Jr. during Maine’s state of emergency in the

       summer of 1991 resulting from a government shutdown.

2.     Since the end of February 2020, my COVID-19-related duties have included assessing

       communications from the White House, monitoring the executive orders of governors of

       other states, and coordinating regional issues with the legal counsels to the governors of

       New Hampshire and Vermont. My duties have also included identifying, developing,

       prioritizing, and managing a wide variety of pandemic-related operational, governmental

       and legal issues arising from COVID-19 across Maine.
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3.    Deputy Legal Counsel Linda M. Pistner and I are the principal authors of the Governor’s

      emergency executive orders, including Executive Order 34 FY 19/20 cited in Plaintiff’s

      Complaint.

4.    Generally speaking, the purpose of these Orders has been to exercise the Governor’s

      expressly delegated authority to take actions that protect the public health of the people,

      support the economic needs of citizens and entities who have been affected by COVID-19,

      and facilitate the operational needs of state government. The challenge has been to prevent

      the spread of the virus while still allowing certain essential economic, medical,

      governmental and social functions to continue as safely as possible. The Orders have been

      based on consultation with public health experts and the best available medical information

      at that time. The COVID-19 emergency is not like an ice storm or a flood where there are

      emergency plans in place and the resulting damage is visible at any point in time. The

      virus is new, and much is still not known about it and how it spreads, and so we have taken

      a one-step-at-a-time approach, albeit at a highly accelerated pace.

5.    The Maine Center for Disease Control and Prevention (Maine CDC) is the lead state

      agency guiding the State’s public health-based responses to this dangerous and deadly

      pandemic. Starting in December of 2019, Maine CDC began monitoring the outbreak of

      the novel Coronavirus, COVID-19, in Wuhan, China, and dedicated 30 staff members to

      focus on preparing for cases in Maine. On March 2, 2020, Governor Mills convened a

      Coronavirus Response Team headed by Maine CDC Director Dr. Nirav Shah.

6.    The Maine Department of Economic and Community Development (DECD) is the lead

      state agency guiding the State’s response to the economic and social impacts of this

      pandemic. Generally speaking, DECD has organized its approach to COVID-19 impacts




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      by identifying approximately 70 categories of the tens of thousands of Maine’s business,

      social, and other entities whose operations have been seriously affected by COVID-19.

      Restaurants and campgrounds are two such businesses. DECD continues to manage and

      respond to an extraordinary array of issues, challenges, and questions that this

      unprecedented pandemic very quickly has created.

7.    The primary goal of the State’s management of this pandemic has been a) to contain the

      spread of the deadly virus in order to protect Maine citizens from acute sickness and death,

      and b) to protect Maine’s health care delivery system from being overwhelmed by an

      unrestrained pandemic. The concern for the health care system arose from the inadequate

      supply of personal protective equipment (PPE) that first responders, nurses, doctors and

      other front-line health care workers need, as well as a limited number of ventilators and

      intensive care unit beds required to treat seriously infected patients.

8.    From the very beginning of the pandemic, the United States Center for Disease Control

      and Prevention (USCDC) and Maine CDC have consistently advised that the most effective

      way to limit the spread of the virus is to distance members of society from one another by

      limiting their in-person contact.

9.    In Maine, these distancing measures, broadly defined, have been implemented by a series

      of different methods and progressive steps. The timing of the implementation of these

      measures has been tied to the rate and location of infection case increases in the State,

      changes in federal and state public health guidance as the scientific understanding of the

      virus has developed, and the actions of neighboring states whose own case rates could, by

      means of travel therefrom, affect Maine’s case rates.




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10.   A brief chronological summary of the progressive yet rapid measures that the State has

      taken to contain the spread of the virus by containing the movement and gathering of people

      is, to the best of my recollection, as follows:

      a.     On March 12, when Maine recorded its first positive presumptive case, the

             Governor 1) suspended all non-essential out-of-state work travel by State

             employees; and 2) recommended, on the advice of Maine CDC, that non-essential

             large, indoor gatherings of 250 attendees or more be postponed in order to delay a

             potential coronavirus outbreak and substantially reduce its spread.

      b.     On March 15, the Governor declared a Civil State of Emergency and recommended

             1) ending classroom instruction in all public schools as soon as reasonably

             practical; 2) postponing, with consultation between the patient and provider, all

             non-urgent medical procedures, elective surgeries, and appointments at hospitals

             and health care providers across the state until further notice; 3) restricting visitors

             and all non-essential health care personnel to long-term care facilities except for

             certain compassionate care situations such as end of life until further notice; 4)

             postponing all events with 50 or more people until further notice; and 5) postponing

             all gatherings of more than 10 that include individuals who are at higher risk for

             severe illness, such as seniors, until further notice.

      c.     On March 16, the Governor called for the statewide cancellation of Saint Patrick’s

             Day events to prevent the gathering of large crowds and further encourage social

             distancing measures. The Maine Legislature adjourned on March 17, one month

             early, as its own protective caution against gathering.




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      d.    By March 18, Maine had 43 COVID-19 cases. The same day, the Governor issued

            Executive Order 14 FY 19/20 mandating that all restaurants and bars statewide

            close to dine-in customers for an initial period of 14 days. Take-out, delivery, and

            drive-through options could continue. In the same Order the Governor followed

            USCDC’s then guidance on gatherings and prohibited all gatherings of more than

            10 people. Those gatherings included, for example: community, civic, public, and

            leisure events; social clubs; sporting events with spectators; concerts, conventions,

            fundraisers, parades, fairs, and festivals; and any similar event or activity in a venue

            such as an auditorium, stadium, arena, large conference room, meeting hall, theatre,

            or private club. In addition, the Governor strongly urged non-essential public-

            facing businesses, such as gyms, hair salons, theatres, casinos, and shopping malls,

            to close their doors for the next two weeks to minimize public gatherings.

      e.    On March 19, the Governor continued to press the Federal government to provide

            more PPE and testing supplies to the State. In a letter to Vice President Mike Pence

            and U.S. Secretary of Health and Human Services Alex Azar, the Governor

            requested that the Federal government expedite the release of PPE from the

            Strategic National Stockpile and pushed for “a steady and reliable supply” of testing

            materials as the outbreak intensified.

      f.    On March 24, there were 118 COVID-19 cases in Maine. The same day, the

            Governor issued Executive Order 19 FY 19/20 that: 1) directed all non-essential

            businesses and operations in Maine to close their physical locations that were public

            facing, meaning those that allowed customer, vendor or other in-person contact;

            2) strongly urged all large, essential, public-facing businesses to immediately




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            employ strategies to reduce congestion in their stores, including limiting the

            number of customers in the store at any one time and enhancing curbside pick-up

            and delivery services; and 3) directed businesses that could do so to have their

            employees work from home and, if not, employ appropriate measures to ensure

            social distancing in the workplace.

      g.    On March 26, the Governor approved a recommendation by the Department of

            Agriculture, Conservation and Forestry’s Bureau of Parks and Lands to close the

            following coastal state parks because they were attracting large public gatherings:

            Reid State Park, Popham Beach State Park, Fort Popham, Fort Baldwin, Kettle

            Cove State Park, Two Lights State Park, Crescent Beach State Park, Scarborough

            Beach State Park, Ferry Beach State Park, and Mackworth Island.

      h.    Between March 27 and March 31, COVID-19 cases in the State increased sharply,

            from 168 to 303. On March 31, the Governor therefore issued Executive Order 28

            FY 19/20 that: 1) directed people living in Maine to stay at home at all times unless

            for an essential job or an essential personal reason, such as obtaining food,

            medicine, health care, or other necessary purposes; 2) closed public K-12 school

            in-person learning for the remainder of the school year; 3) restricted the use of

            public transportation; and 4) imposed in-store customer limits and related safety

            measures on public facing stores.

      i.    At about this same time, concerns for distancing informed the decisions of a variety

            of public officials to, for example: 1) transition about 85% of the State’s

            approximately 13,000 employees to work from home; 2) substantially limit in-

            person proceedings in the State courts; and 3) stop in-person learning and




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            residential dorm occupancy at the seven Community Colleges, the seven

            Universities of Maine, Maine Maritime Academy, as well as private schools and

            colleges.

      j.    On April 1, the Governor requested that the President of the United States declare

            Maine a Presidential Major Disaster in light of the significant impact of COVID-

            19 on the State, which request was granted on April 4.

      k.    Between March 31 and April 3, COVID-19 cases in the State increased sharply

            from 303 to 432. On April 3, the Governor therefore issued Executive Order 34

            FY 19/20, “An Order Establishing Quarantine Restrictions on Travelers Arriving

            in Maine.” This Order is the subject of this litigation and will be discussed further

            below. Essentially, though, the Order requires all persons entering Maine, residents

            and non-residents alike, to immediately self-quarantine for 14 days, except for

            persons engaging in certain “essential services” as defined in Executive Order 19

            FY 19/20. The Order also directed lodging operations (including campgrounds) to

            close, except to the extent the operations were providing housing in certain

            narrowly defined circumstances.

      l.    Between April 3 and April 7, COVID-19 cases increased from 432 to 519. In

            response, the Governor directed the Maine National Guard and the Maine

            Emergency Management Agency to work with Maine’s health care systems to

            prepare two alternative care sites in Portland and Bangor as part of the State’s

            preparations to bolster Maine health system capacity.

      m.    Between April 7 and April 10, COVID-19 cases in Maine increased from 519 to

            586. The Governor therefore issued Executive Order 39 FY 19/20 moving Maine’s




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             primary election from Tuesday, June 9, 2020, to Tuesday, July 14, 2020, to:

             1) allow for more time to arrange for necessary public health protections needed

             for in-person voting; and 2) permit more use of absentee ballots to avoid large in-

             person gatherings at the polls.

      n.     Between April 10 and April 14, COVID-19 cases increased from 586 to 734. The

             Governor therefore signed on April 14 a renewed proclamation extending Maine’s

             state of civil emergency for another thirty days.

      o.     On April 16, the Governor issued Executive Order 40 FY 19/20 limiting evictions

             during the state of emergency in order to support the purposes of the Stay-at-Home

             Order (Executive Order 28 FY 19/20) and to protect homeless shelters from having

             new, and potentially infected, persons seeking to use the shelters’ vulnerable, open

             and co-habited resources.

11.   By April 29, Maine CDC advised that, as a likely consequence of all of the above measures,

      Maine appeared to have started to “flatten the curve” (i.e. reduced the rate of new

      infections).   Maine had also received increased PPE and related equipment, so the

      Governor was advised that she could consider initiating a phased-in reopening plan to

      reduce the economic pressures. To that end:

      a.     On April 29, the Governor signed Executive Order 49 FY 19/20, “An Order to Stay

             Safer at Home.” This order extended the effective dates of Executive Orders 14,

             19, 28, and 34 FY 19/20 through May 31, 2020, unless sooner amended. The Order

             also announced that starting May 1, 2020, the DECD Commissioner would being

             implementing a “Restarting Plan” to “identify businesses and activities where

             current restrictions may be adjusted to safely allow for more economic and personal




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            activity.” The Order also stated that “consistent with guidance from the United

            States Centers for Disease Control and Prevention,” and with certain exceptions,

            “individuals must wear cloth face coverings in public settings where other physical

            distancing measures are difficult to maintain.”

      b.    On May 7, the Governor announced a partnership with IDEXX Laboratories, Inc.

            to purchase enough of the company’s recently authorized COVID-19 testing kits to

            more than triple the State’s testing capacity. Use of this testing would facilitate a

            safer reopening.

      c.    On May 8, the Governor announced a plan to reopen certain additional businesses

            in rural Maine over the course of the following two weeks with added health and

            safety measures that would follow COVID-19 Prevention Checklists. Under the

            plan, retail stores and restaurants would be permitted to open to in-store and some

            dine-in service, respectively – with enhanced safety precautions – in counties where

            Maine CDC has not found community transmission. Those counties are Aroostook,

            Piscataquis, Washington, Hancock, Somerset, Franklin, Oxford, Kennebec, Waldo,

            Knox, Lincoln, and Sagadahoc. In the meantime, the “Stay Safer at Home” Order

            remained in effect.

      d.    On May 13, the Governor extended the state of emergency for another 30 days and

            on May 14, DECD announced that, effective immediately, Maine lodging providers

            could begin accepting future reservations for stays with an arrival date on or after

            June 1 for Maine residents and for non-residents who completed the State’s 14-day

            quarantine requirement imposed by Executive Order 34 FY 19/20.




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      e.     On May 19, DECD announced that Maine residents may use private campgrounds

             beginning Memorial Day weekend. State campgrounds are scheduled to open on

             June 1.

12.   As noted above, Executive Order 34 FY 19/20 that is the subject of this litigation was

      issued on April 3. The origin of the Order started with concerns about increased risk of the

      spread of COVID-19 expressed by a number of municipalities, particularly 1) beach towns

      that typically see many day or weekend visitors during the warming weather, 2) tourist

      attraction towns that see the same, and 3) coastal areas (especially island communities

      which felt particularly vulnerable) that have many seasonal residents who would expedite

      their plans to return to Maine in order to escape from parts of the country (for example,

      Massachusetts and New York), with much higher infection rates. There were also concerns

      that work-from-home orders issued by other states would induce even more people to come

      to Maine and increase the risk of the spread of COVID-19, since they would still be able

      to maintain their employment while here in a more rural and less populated state. We also

      took note of the President’s early action to impose an international travel ban, and Canada’s

      interest and actions to close its borders and limit travel between its provinces.

13.   Broader concerns were also expressed about the rapidly approaching tourist season. I am

      informed that last year, Maine, with its population of 1.3 million citizens, had

      approximately 22.1 million non-resident visits last summer, with approximately half of

      those coming from our regional neighbors and ongoing COVID-19 hotspots in

      Massachusetts, Connecticut and New York.

14.   Given these several concerns and case-related information available as of April 3, the

      Governor determined, as advised by Maine CDC, that there was a need to not just continue




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      addressing the risk of infection in the existing population in Maine, but to limit the potential

      introduction of new infections. This determination was additionally informed by the

      following:

      a.      Although Maine had taken numerous measures to increase physical distancing,

              additional measures were necessary to slow the spread of the COVID-19 virus and

              lessen the strain on Maine's health care system;

      b.      Due to extensive community transmission of COVID-19 in the states of New York,

              New Jersey and Connecticut, on March 28 the USCDC advised residents of those

              states to refrain from non-essential domestic travel for 14 days, and a Maine order

              would be consistent with the nature of this advice;

      c.      The President of the United States and his Coronavirus Task Force issued an

              advisory to limit travel between and among certain states, and a Maine order would

              be consistent with the nature of this advice;

      d.      Several states in the region began imposing their own quarantine and lodging

              restrictions in order to prevent the spread of COVID-19 from travel, and a Maine

              order would help limit Maine’s exposure to COVID-19 from additional potential

              travelers; and

      e.      A temporary requirement on residents and non-residents alike traveling from

              outside the State to self-monitor and home quarantine for a period of 14 days, and

              to restrict the operation of hotels and lodging, including certain campgrounds,

              would further protect Maine’s public health interests.

15.   Executive Order 34 applies to person based upon their recent travel, not their residency. It

      applies equally to residents of other states as well as Maine residents who leave and return




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      to Maine. In short, the Order a) requires that travelers arriving in Maine, regardless of their

      state of residency, self-quarantine for 14 days to mitigate the spread of COVID-19;

      b) instructs visitors not to travel to Maine if they are displaying symptoms of COVID-19;

      c) advises visitors not to travel to Maine if they are traveling from cities or regions

      identified as COVID-19 “hot spots;” and d) to further deter the risk of infection, suspends

      online reservations for and operations of lodging. Lodging includes hotels, motels, bed

      and breakfasts, inns, and short-term rentals such as those available through VRBO, Airbnb,

      RV parks and campgrounds, and all public and private camping facilities. The use of

      lodging is also restricted to health care workers, or other workers deemed necessary to

      support public health, public safety or critical infrastructure, vulnerable populations, state-

      arranged quarantine or isolation locations, and state-approved extenuating circumstances.

16.   Executive Order 34 applies a rule of 14 days because Maine CDC advised that this is the

      incubation period of the virus. So, if a person is not exhibiting symptoms after 14 days, it

      is less likely that the person is infected with the COVID-19 virus.

17.   Executive Order 34 does not prohibit persons in specified areas and “hot spots” from

      coming to Maine. Rather, it advises against it. The 14-day quarantine, on the other hand,

      is a requirement. The intent of making it a requirement rather than an advisory was to more

      forcefully reduce the risk posed by travel into Maine, with the intention of monitoring the

      impact and implementing any “amendment and additional guidance as necessary.”

18.   Executive Order 34 does not purport to limit intra-Maine movement because the Stay-at-

      Home Order (EO 28) provides that protection. By curtailing the extent to which persons

      may leave their homes, the Stay-at-Home Order reduces the level of risk from intra-state

      travel.




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19.   Executive Order 34 expressly provides an exception for workers in essential businesses to

      align with the goals of the Essential Business Order (EO 19) and to accommodate the

      attraction of more health care workers from outside Maine who could enter and practice in

      the State, consistent with Executive Order 16 FY 19/20 that eased certain medical license

      restrictions. Another example of essential workers are the out-of-state power line workers

      who were necessary to restore the power from the recent late spring snowstorm. Quite

      simply, certain essential services must continue, and requiring persons who provide those

      services to self-quarantine would interfere with the delivery of those essential services.

20.   We recognize that there will be instances in which the quarantine rule might not be

      necessary. For example, a person who accidently drives from Maine into New Hampshire,

      and then immediately drives back into Maine, almost certainly would not have been

      exposed to the virus in New Hampshire, and there is thus little reason for him to self-

      quarantine. The quarantine was not intended to address the “accidental tourist.” Rather, it

      was intended to address the risks posed by the millions of individuals entering the state to

      recreate, travel to seasonal homes, or escape from areas with high infection rates.

21.   Executive Order 34 was not intended, and has not been construed, to require a person

      coming into Maine to stay for 14 days, only that a person coming into Maine to stay for at

      least 14 days must spend the first 14 days in quarantine.

22.   Executive Order 34 does not allow persons to self-quarantine in a home state and then

      travel directly to Maine because of concerns about the reliability of that representation,

      especially from persons who travelled some distance to reach Maine and had to use

      restrooms, get food and access lodging along the way. Further, while to some extent the

      self-quarantine requirement depends on voluntary compliance, it is easier to verify a




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      person’s claim that he self-quarantined in Maine than to verify a person’s claim that he

      self-quarantined in his home state. For example, if an out-of-state resident falsely claimed

      to have self-quarantined in Maine upon arrival, State officials could follow up by, for

      example, asking the person for the location where he allegedly self-quarantined. If a person

      claimed to have self-quarantined at his home in another state, however, it would be all but

      impossible to verify that claim.

23.   Executive Order 34 has been intended to be enforced by education and community

      policing, by licensing actions where applicable, and, pursuant to 37-B M.R.S. § 786, by

      law enforcement as a Class E crime after an individual has failed to comply with a just or

      reasonable order relative to enforcement of the Order. I am not aware of enforcement

      efforts that have been implemented other than education and community policing.

24.   Executive Order 34 was issued pursuant to authorities expressly delegated by 37-B M.R.S.

      Ch. 13, including but not limited to, the powers to control the ingress and egress of persons

      and occupancy of premises within the State pursuant to 37-B M.R.S. § 742(1)(C)(8);

      control the movement of persons and occupancy of premises within the State pursuant to

      37-B M.R.S. § 742(1)(C)(8); enlist the aid of any person to assist in the effort to control

      the emergency and aid in the caring for the safety of persons pursuant to 37-B M.R.S.

      § 742(1)(C)(5) and 37-B M.R.S. § 827; utilize all available resources of the State as

      reasonably necessary to cope with the emergency pursuant to 37-B M.R.S. § 742(1)(C)(2);

      and take whatever action is necessary to mitigate a danger that may exist within the State

      pursuant to 37-B M.R.S. § 742(l)(C)(l2).

25.   Executive Order 34, as with all of our Orders, remains under review during these rapidly

      evolving challenges. All options for adjusted approaches remain under consideration --




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      especially as the larger potential summer ingress awaits -- as we assess the State’s

      improving testing capacity and the public’s apparent level of disciplined and consistent

      acceptance of physical distancing, use of masks, and the avoidance of crowded areas.

26.   I believe that approximately 30 other states have adopted COVID-19-related quarantine

      orders. While the approaches vary, the purposes and goals appear to be the same, with a

      particular regional concern in the Northeast for the risk from interstate vehicular travel

      between and among the areas considered hot spots such as New York, Massachusetts, and

      Connecticut.

27.   Maine is unique, though, because we are at the northern end of the Northeast corridor and,

      as such, we are a more discretionary and very popular short- and long-term destination.

      Again, Maine, with its population of 1.3 million citizens, had approximately 22.1 million

      non-resident visits last summer, with approximately half of those coming from our regional

      neighbors and ongoing hot spots in Massachusetts, Connecticut, and New York. The day

      and overnight tourists triple the size of towns in our densely populated beach areas and in

      some of our inland lake areas. With increased population comes increased risk.

28.   In order to continue to slow the spread of COVID-19, the State is focused on expanding

      testing to determine the rate of infection for the State and increasing contact tracing to stop

      the spread from identified positives more quickly.

29.   Based on my experience managing this emergency over the last three months, I believe

      that the fundamental principle of emergency management that underlies 37-B M.R.S., Ch.

      13 is to enable a governor to access the elastic tools necessary to mitigate the effects of the

      emergency and to respond quickly as the situation changes. It is critical that decisions be




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      made in close consultation with medical experts and based on the best available medical

      evidence.

30.   Based on my experience managing this emergency over the last three months, I believe

      that it is axiomatic that urgently needed, broad-based Orders deemed necessary by a

      governor upon advice of other State officials and the State’s public health experts given

      rapidly developing, largely unknown and potentially deadly circumstances will be subject

      to claims of being both over- and under-inclusive. That is the nature of emergency

      management, especially in a fast-moving unprecedented pandemic. I also believe that it is

      axiomatic that arguments that such officials could or should have adopted a different

      approach are themselves often both over- and under-inclusive.

31.   I further believe that the State’s interest in adopting a reasonable, temporary measure

      supported by the best available medical evidence and advice during the middle of an

      international pandemic in order to protect the public health of people within the State far

      outweighs an individual’s desire to be wholly free of any restraint or recreate seasonally in

      Maine.


      I declare under penalty of perjury that the foregoing is true and correct.



Dated: May 25, 2020                                         /s/ Derek P. Langhauser
                                                            Derek P. Langhauser




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this, the 25th day of May, 2020, I electronically filed the above

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

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